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     Press Release


     Oracle Chosen as TikTok’s Secure Cloud
     Provider

     Oracle to take a 12.5 percent stake in TikTok Global

     REDWOOD SHORES, Calif.—September 19, 2020




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     Oracle Corporation (NYSE: ORCL) announced today that it was chosen to become TikTok’s secure cloud
     technology provider. This technical decision by TikTok was heavily in uenced by Zoom’s recent success in
     moving a large portion of its video conferencing capacity to the Oracle Public Cloud.

     “TikTok picked Oracle’s new Generation 2 Cloud infrastructure because it’s much faster, more reliable, and
     more secure than the rst generation technology currently o ered by all the other major cloud providers,”
     said Oracle Chief Technology O cer Larry Ellison. “In the 2020 Industry CloudPath survey that IDC recently
     released where it surveyed 935 Infrastructure as a Service (IaaS) customers on their satisfaction with the
     top IaaS vendors including Oracle, Amazon Web Services, Microsoft, IBM and Google Cloud.... Oracle IaaS
     received the highest satisfaction score.”

     “As a part of this agreement, TikTok will run on the Oracle Cloud and Oracle will become a minority investor
     in TikTok Global,” said Oracle CEO Safra Catz. “Oracle will quickly deploy, rapidly scale, and operate TikTok
     systems in the Oracle Cloud. We are a hundred percent con dent in our ability to deliver a highly secure
     environment to TikTok and ensure data privacy to TikTok’s American users, and users throughout the


https://www.oracle.com/news/announcement/oracle-chosen-as-tiktok-secure-cloud-provider-091920.html                   1/3
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     world. This greatly improved security and guaranteed privacy will enable the continued rapid growth of the
     TikTok user community to bene t all stakeholders.”

     Based on decades of experience securing the world’s most sensitive data, the Oracle Generation 2 Cloud
     was built from the ground up to fully isolate running applications and autonomously respond to security
     threats. Oracle will combine its secure cloud technology with continuous code reviews, monitoring, and
     auditing to provide unprecedented assurance that U.S. TikTok user data is private and secure.




     Cont act Info

     Deborah Hellinger
     Oracle Corporate Communciations
     deborah.hellinger@oracle.com
     +1.212.508.7935




     About Oracle

     The Oracle Cloud o ers a complete suite of integrated applications for Sales, Service, Marketing, Human
     Resources, Finance, Supply Chain, and Manufacturing, plus Highly Automated and Secure Oracle Cloud
     Infrastructure featuring the Oracle Autonomous Database. For more information about Oracle (NYSE:
     ORCL), please visit us at www.oracle.com.




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